                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CHELSIE NITSCHKE, et al.,                       )
                                                )
        Plaintiffs,                             )
                                                )        NO. 3:24-cv-01342
v.                                              )
                                                )        JUDGE CAMPBELL
VILLAGES AT FOREST VIEW, LLC, et                )        MAGISTRATE JUDGE NEWBERN
al.,                                            )
                                                )
        Defendants.                             )

                                            ORDER

         Pending before the Court is Defendants Villages at Forest View, LLC, VFV Partners, LLC,

and Hostettler, Neuhoff & Davis, LLC d/b/a HND Realty, LLC’s motion for leave to serve a

supplemental rebuttal expert report. (Doc. No. 40).

         The Motion (Doc. No. 40) is GRANTED, and Defendants are granted leave to serve a

supplemental rebuttal expert report.

         It is so ORDERED.


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                                                    WILLIAM L. CAMPBELL, JR.
                                                    CHIEF UNITED STATES DISTRICT JUDGE




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